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 7                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WASHINGTON
 8                                          AT SEATTLE
 9    UNITED STATES OF AMERICA,
10                   Plaintiff,
11                                                         Case No. CR04-251L
                v.
12
                                                           ORDER DENYING MOTIONS TO
      KENNETH STONE and DEBRA STONE,                       SUPPRESS EVIDENCE
13
                     Defendants.
14

15          This matter comes before the Court on the “Motion to Suppress Evidence, and Request

16   for a Franks Hearing” (Dkt. # 100) filed by defendant Kenneth Stone and the “Motion to

17   Suppress Evidence and for Evidentiary Hearing” (Dkt. # 102) filed by defendant Debra Stone.1

18   For the reasons set forth below, the motions are denied.

19                                         I. BACKGROUND

20          On March 15, 2004, detective Roy Alloway of the Westsound Narcotics Enforcement

21   Team (WestNET) applied for and received warrants to search four properties in Kitsap County,

22   Washington. Det. Alloway provided the following information in support of the search warrant:

23

24          1
             Co-defendants Ronnie Irish and Crystal Irish also joined in the motion. Ronnie and
25   Crystal Irish, however, have both entered guilty pleas prior to the disposition of this motion. See
     Dkt. #s 132 & 133.
26

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 1   (1) past tips implicating Kenneth Stone and his brother, Mike Stone, in marijuana growing
 2   operations; (2) information from a cooperating informant, Jennifer Johnson, who provided
 3   details regarding Kenneth Stone’s marijuana growing operations and information regarding
 4   Kenneth Stone’s co-defendants; and (3) Det. Alloway’s claim that when he approached one of
 5   the properties, located at 2595 S.W. Pine Road, he could smell the odor of growing marijuana.
 6          On March 18, 2004, WestNET detectives and other officers executed the warrants. At
 7   each of the properties searched, detectives located evidence of marijuana growing and
 8   distribution. At the Pine Road property detectives found: 256 live marijuana plants located
 9   inside two white construction trailers; a large bag of dried marijuana plants with leaves removed;
10   seven pairs of scissors with marijuana residue on them; a five gallon bucket containing a plastic
11   bag that held about 49.5 grams of harvested marijuana; and extra pots, planting stakes, and other
12   material that appeared to be used in the marijuana grow operation. Kenneth and Debra Stone,
13   along with a number of other individuals, were subsequently arrested.
14          On March 18, 2005, Kenneth Stone filed the motion to suppress and request for a Franks
15   hearing. In that motion, Mr. Stone argues that the search warrant is invalid as it relates to the
16   Pine Road property because (1) the warrant failed to identify the two construction trailers at the
17   Pines Road property that contained the seized marijuana plants; (2) Det. Alloway’s claim that he
18   could smell the odor of growing marijuana at the Pines Road property constituted a false and
19   materially misleading statement. Kenneth Stone requested a hearing pursuant to Franks v.
20   Delaware, 438 U.S. 154 (1978).
21          Defendant Debra Stone also filed a motion to suppress evidence on March 18, 2005. In
22   that motion, Ms. Stone argued that (1) the affidavits submitted in support of the request for the
23   search warrant of the Pine Road property failed to establish probable cause, (2) the warrants
24   were overbroad, and (3) Det. Alloway made a material misstatement in his affidavit. Ms. Stone
25   also joined in the suppression motion filed by Mr. Stone.
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 1          This Court conducted an evidentiary hearing over the course of two days, beginning on
 2   June 1, 2005 and resuming on July 1, 2005. Patrick L. Walsh, Warren James Woodford, Ph.D.,
 3   Robert Breidenthal, and Vera Fuchs testified on behalf of the defendants. Detective Alloway,
 4   Detective Dale Schuster, and Dr. Samir Ross testified on behalf of the government.
 5                                           II. DISCUSSION
 6          1.      Standard of Review.
 7          The Fourth Amendment guarantees “[t]he right of the people to be secure in their persons,
 8   houses, papers, and effects, against unreasonable searches and seizures” and requires that any
 9   warrant authorizing a search “particularly describ[e] the place to be searched, and the persons or
10   things to be seized.” U.S. Const. amend. IV. In addition, the affidavits filed in support of a
11   search warrant must provide sufficient probable cause to justify its issuance.
12          In determining whether probable cause exists, the reviewing officer must “make a
13   practical, common-sense decision whether, given all of the circumstances set forth in the
14   affidavit . . . including the ‘veracity’ and ‘basis of knowledge’ of persons supplying hearsay
15   information, there is a fair probability that contraband or evidence of a crime will be found in a
16   particular place.” Illinois v. Gates, 462 U.S. 213, 238 (1983) (quoting Jones v. U.S., 362 U.S.
17   257, 271 (1960)); accord, U.S. v. Ventresca, 380 U.S. 102, 108 (1965) (affidavits in support of a
18   search warrant are “tested and interpreted by magistrates and courts in a commonsense and
19   realistic fashion”).
20          In a subsequent review of the affidavit and finding of probable cause, this Court accord’s
21   deference to the issuing judge’s finding of probable cause, see U.S. v. Terry, 911 F.2d 272, 275
22   (9th Cir. 1990), and must uphold the judge’s determination if there is a “substantial basis” for
23   concluding that a search would uncover evidence of wrongdoing, Illinois v. Gates, 462 U.S. at
24   236.
25

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 1          2.     Probable Cause to Search the Trailers.
 2          Defendants have claimed that the officers did not have probable cause to search the two
 3   trailers on the Pine Road property. They note that although the Alloway affidavit mentioned
 4   three different structures on the Pine Road property, it did not mention the two trailers. The
 5   search warrant signed by Kitsap County Superior Court Judge Mills, however, authorized the
 6   search of the three different structures as well as “other outbuildings” located on the property.
 7   Defendants argue that the warrant was overly broad because the Alloway affidavit did not
 8   provide a sufficient basis for the expansion of the warrant beyond the search of the three
 9   structures that were specifically mentioned.
10          The search warrant was not overly broad. Judge Mills had a substantial basis for
11   determining that probable cause existed to search all of the buildings on the Pines Road
12   property, not just the three structures specifically mentioned in the Alloway affidavit. As the
13   Ninth Circuit has made clear, a search warrant “is valid when it authorizes the search of a street
14   address with several dwellings if the defendants are in control of the whole premises, if the
15   dwellings are occupied in common, of if the entire property is suspect.” U.S. v. Alexander, 761
16   F.2d 1294, 1301 (9th Cir. 1985). The Alloway affidavit specified the street address to be
17   searched, indicated that the property was rented, that the electrical bills were in the name of
18   Debra Stone (Debra Jackson’s maiden name) and included Ms. Jackson’s social security
19   number. In addition, the affidavit provided probable cause to believe that the property contained
20   a large-scale marijuana growing operation and that the entire property was suspect. As in
21   Alexander, the evidence to be seized in this case “was of a type that could be hidden easily in
22   any structure. The most reasonable place to look for contraband on rural, undeveloped acreage
23   is in the structures on that acreage. A warrant authorizing the search of any building . . . was
24   reasonable under the circumstances and not overly broad.” 761 F.2d at 1301.
25          In addition, the two trailers containing the marijuana plants were within the curtilage of
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 1   the main residence. “A search warrant for a residence may include all other buildings and other
 2   objects within the curtilage of that residence, even if not specifically referenced in the search
 3   warrant.” U.S. v. Cannon, 264 F.3d 875, 881 (9th Cir. 2001), cert. denied, 534 U.S. 1143
 4   (2002). To determine whether a building is within the curtilage of a residence, the Court
 5   considers four factors:
 6          (1) the area’s proximity to the home, (2) whether the area is included within an
            enclosure surrounding the home, (3) whether the area is being used for the intimate
 7          activities of the home, and (4) the steps taken by the resident to protect the area
            from observation by passers-by.
 8
     Id. (citing U.S. v. Dunn, 480 U.S. 294, 301 (1987)). The two trailers meet all of the Dunn
 9
     factors. The trailers were located in the fenced-in backyard of the main residence. A covered
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     area made of wood and tarps connected the trailers to the main residence. Power lines ran from
11
     the main residence into the two trailers. Three Rottweilers patrolled the backyard and initially
12
     prohibited the officers from entering the backyard. Indeed, the trailers were not just curtilage of
13
     the residence, they were connected to and, for all practical purposes, a part of the residence.
14
     Under the circumstances, there is no doubt that the search warrant, even without the “other
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     buildings” language, authorized the search of the trailers.
16
            3.     Defendants’ Franks Challenge.
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            Defendants argue that Det. Alloway intentionally or recklessly made a material false or
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     misleading statement in his affidavit when he asserted that he could smell the odor of growing
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     marijuana when standing outside the Pines Road property. In response to their allegation, this
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     Court held a hearing in accordance with Franks v. Delaware. A Franks hearing involves two
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     steps. First, defendants must show by a preponderance of the evidence that the affiant officer
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     intentionally or recklessly made false or misleading statements or omissions in support of the
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     warrant. If defendants meet their burden and the Court “finds by a preponderance of the
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     evidence that the officer so acted, the district court then inquires into whether ‘with the
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     affidavit’s false material set to one side, the affidavit’s remaining content is insufficient to
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 1   establish probable cause.’” U.S. v. Martinez-Garcia, 397 F.3d 1205, 1215 (9th Cir. 2005)
 2   (quoting Franks, 438 U.S. at 156).
 3          Based on the testimony and evidence at the Franks hearing, this Court finds that Det.
 4   Alloway did not materially or recklessly make a false or misleading statement in his affidavit.
 5   Defendants argued forcefully that the marijuana plants in the two trailers were in a vegetative
 6   state and that it would have been physically impossible for Det. Alloway to have smelled the
 7   distinctive odor of marijuana from these plants. In addition, they asserted that the topography
 8   and wind patterns in the Pine Road area made it unlikely that Det. Alloway could smell
 9   marijuana from the edge of the property.
10          The government, however, provided the testimony of Dr. Samir Ross, who convincingly
11   testified that marijuana plants in a vegetative state do produce the smell associated with
12   marijuana, albeit in a less concentrated form. The government also sufficiently called into
13   question defendants’ arguments based on topography and wind patterns. Defendants’ expert
14   acknowledge that wind patterns are unpredictable and that the direction of the wind at the time
15   Det. Alloway smelled the marijuana simply could not be determined.
16          In addition, the government introduced evidence that showed that mature marijuana
17   plants had recently been harvested at the property. For instance, detectives found a large bag of
18   dried marijuana plants with leaf material removed, scissors that had been stained with marijuana
19   residue, and a plastic bag containing 49.5 grams of harvested marijuana. The government
20   convincingly argued that the smell of marijuana may have come from these items, as well. This
21   contention was supported by Dr. Ross and also by the supplemental report of Det. Schuster, who
22   indicated that the main residence at Pine Road contained a strong smell of marijuana.
23          Most importantly, however, the government provided the testimony of Det. Alloway, who
24   described his investigation of defendants. He detailed his extensive experience in drug
25   enforcement, and provided a description of his surveillance of the Pine Road property. This
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 1   Court found Det. Alloway’s testimony sincere and credible. Accordingly, defendants have not
 2   met their burden of showing by a preponderance of the evidence that Det. Alloway intentionally
 3   or recklessly made a false or misleading statement in support of the warrant.
 4          For purposes of the Franks hearing, the inquiry ends here. Nevertheless, it is worth
 5   noting that even if defendants were able to show that a false or misleading statements had been
 6   made, they would not have been able to satisfy the second part of the Franks inquiry. Det.
 7   Alloway had presented a thorough and detailed complaint for warrant. The testimony regarding
 8   the odor of marijuana at the Pines Road property was only a small part of that complaint. If the
 9   Court were to set the portion of his complaint regarding the smell of marijuana aside, the 27
10   page affidavit would still provide sufficient probable cause to justify Judge Mills’s decision to
11   issue the warrant.
12                                         III. CONCLUSION
13          For all the foregoing reasons, the “Motion to Suppress Evidence, and Request for a
14   Franks Hearing” (Dkt. # 100) filed by defendant Kenneth Stone and the “Motion to Suppress
15   Evidence and for Evidentiary Hearing” (Dkt. # 102) filed by defendant Debra Stone are
16   DENIED.
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18          DATED this 11th day of July, 2005.
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21
                                                      A
                                                      Robert S. Lasnik
                                                      United States District Judge
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